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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

                                                    Civil Action No. 7:17-cv-03292-NSR
AFP MANUFACTURING CORPORATION,

                               Plaintiff,

               vs.
                                                    Hearing Date: ______________________
AFP IMAGING CORPORATION,
                                                    Hearing Time: ______________________
BIOWAVE INNOVATIONS LLC,
and R. SCOTT JONES                                  Courtroom: ______________________

                               Defendants.

  DEFENDANTS AFP IMAGING CORPORATION, BIOWAVE INNOVATIONS, LLC
         AND R. SCOTT JONES MOTION TO DISMISS PLAINTIFF’S
           COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
       The Defendants, AFP Imaging Corporation, Biowave Innovations, LLC and R. Scott

Jones move to dismiss this action under Rule 12(b)(6) of the Federal Rules of Civil Procedure

because Plaintiff fails to state a claim on which relief may be granted. As more fully explained

in the attached Memorandum of Law, the Plaintiff’s claims are contradicted by the controlling

contract between the parties; Plaintiff fails to plead justifiable reliance; and since there is a valid

contract, Plaintiff’s unjust enrichment claim is barred.
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       WHEREFORE, the Defendants respectfully request that this Honorable Court dismiss the

Plaintiff’s Complaint, dated May 3, 2017, pursuant to Federal Rule of Civil Procedure 12(b)(6)

for failure to state a claim upon which relief can be granted.




 Dated:         Stamford, CT
                August 21, 2017

                                                                 THE DEFENDANTS


                                                     By:         /s/ Luigi Spadafora
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